                  Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.1 Page 1 of 17



                   1   THE BURCHETT LAW FIRM, PC
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                   3   San Diego, California 92101
                       P: (619) 230-8431
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                   5
                       Attorneys for Plaintiff
                   6

                   7

                   8                              IN THE UNITED STATES DISTRICT COURT

                   9                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA

                  10

                  11
                       Sharon McKeeman,                                     Case No. '21CV0815 JLS DEB
                  12
                                                 Plaintiff,
                  13                                                        COMPLAINT
                              v.
                  14
                       United States of America,
                  15

                  16                             Defendant.

                  17           Plaintiff, Sharon McKeeman alleges as follows:
                  18           1.      Plaintiff brings this civil action against the defendant for monetary damages for
                  19   personal injuries caused by the negligence of medical staff at the Naval Hospital Camp Pendleton,
                  20   a facility operated by the United States Navy, a department of the United States Department of
                  21   Defense. Due to the negligence of the United States of America, through its employees, plaintiff
                  22   Sharon McKeeman has suffered muscle and nerve damage in her left leg resulting in severe pain,
                  23   weakness, loss of sensation, and loss of motor control.
                  24         FEDERAL COURT JURISDICTION UNDER FEDERAL TORT CLAIMS ACT
                  25           2.      The claims in this complaint brought against defendant United States of America
                  26   are authorized by and are brought pursuant to the provisions of the Federal Tort Claims Act
                  27   (“FTCA”), 28 U.S.C. §§1346(b) and 2671 et seq., and pursuant to 28 U.S.C. §1331. The FTCA
                  28   vests the Court with exclusive jurisdiction over plaintiff’s claims against the United States for the
T HE B URCHETT
L AW F IRM , PC
   SAN DIEGO
                                                                   COMPLAINT
                  Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.2 Page 2 of 17



                   1   negligent acts and omissions of its employees, notably in this case Navy physicians Grigory
                   2   Rozenfeld, M.D., Omar Saeed, M.D., Nicole Deren, M.D., and Ethan Harris, M.D., Garrick Stride,
                   3   M.D., and junior resident, Rosemary Dizon, M.D.
                   4             3.   At all relevant times, defendant United States owned and operated Naval Hospital
                   5   Camp Pendleton, which is located on Marine Corps Base Camp Pendleton, near Oceanside,
                   6   California in northern San Diego County.
                   7             4.   At all relevant times, defendant United States, acting through the Navy, held itself
                   8   out to have the capability to provide medical care for the plaintiff and to provide her with needed
                   9   medical services. Defendant employed Grigory Rozenfeld, M.D., Omar Saeed, M.D., Nicole
                  10   Deren, M.D. and Ethan Harris, M.D., Garrick Stride, M.D., and Rosemary Dizon, M.D., each of
                  11   whom were acting in the course and scope of their employment with defendant at all relevant times.
                  12             5.   The plaintiff timely filed an administrative claim with the Department of the Navy
                  13   for personal injury damages under the FTCA (Exhibit 1). The Navy denied the claims on October
                  14   29, 2020 (Exhibit 2). Accordingly, Ms. McKeeman exhausted her administrative remedies as
                  15   required by the FTCA and is authorized by law to file this action at this time against the United
                  16   States.
                  17                                                 PARTIES
                  18             6.   At all relevant times, plaintiff Sharon McKeeman resided in base housing at Marine
                  19   Corps Base Camp Pendleton in San Diego County.
                  20                                                  VENUE
                  21             7.   Venue is proper in this district under 28 U.S.C. § 1402(b) in that plaintiff resides in
                  22   this judicial district and the acts or omissions complained of occurred in this district.
                  23                                 ALLEGATIONS OF NEGLIGENCE
                  24             8.   Near midnight on July 14, 2018, plaintiff Sharon McKeeman presented to the
                  25   emergency department at Naval Hospital Camp Pendleton with a 3-day history of left leg pain,
                  26   swelling, discoloration/bruising, weakness, and with left foot drop. Three days earlier, she had
                  27   injured both thighs jumping up quickly to prevent her daughter from falling from her crib. Ms.
                  28   McKeeman collapsed and could not get up from the floor for an hour, and even then could get up
T HE B URCHETT                                                           2.
L AW F IRM , PC
   SAN DIEGO                                                        COMPLAINT
                  Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.3 Page 3 of 17



                   1   only with assistance.
                   2          9.      The morning after the injury, July 12, 2018, her left thigh was hard to the touch and
                   3   had turned purple. She could not activate her quad muscles and was having increasing difficulty
                   4   with walking. She felt severe pain and pins and needles tingling in her left leg and had left foot
                   5   drop. She saw her civilian primary care physician on July 12 and a civilian sports medicine PA on
                   6   Friday, July 13. They suspected rhabdomyolysis but did not suspect compartment syndrome at that
                   7   time. They told her to increase her fluid intake to reduce the rhabdomyolysis symptoms and to go
                   8   to an ER if her symptoms worsened.
                   9          10.     Rhabdomyolysis is a condition where a damaged muscle breaks down and releases
                  10   fluid and muscle tissue fragments. Some of the fluid is absorbed into the blood stream and can
                  11   harm the kidneys as they try to filter the fluid out of the blood. A dangerous risk of rhabdomyolysis
                  12   is “compartment syndrome,” a condition where the fluid and by-products released by the injured
                  13   muscle accumulate within the confined space enclosed by the muscle fascia.                This fluid
                  14   accumulation within the space builds pressure that compresses veins and arteries, impeding blood
                  15   flow and causing ischemic injury. It also compresses nerves, causing nerve damage. Compartment
                  16   syndrome can cause severe and permanent nerve and muscle injury if not relieved promptly.
                  17          11.     On Saturday July 14, Ms. McKeeman’s symptoms did worsen. Following her
                  18   civilian physician’s recommendation, she went to the Camp Pendleton emergency department that
                  19   night. Objective findings in triage were left leg numbness, rapid swelling, bruising, inability to
                  20   walk, with left leg shaking. Camp Pendleton ER physician Grigory Rozenfeld, M.D. examined
                  21   Ms. McKeeman and found that she could not move her left foot, had decreased sensation in her leg,
                  22   and muscle twitching. He diagnosed leg weakness and rhabdomyolysis, but was uncertain what to
                  23   do, so he called the Medical Officer of the Day (“MOD”).
                  24          12.     The Camp Pendleton MOD that night, internist Omar Saeed, M.D., admitted Ms.
                  25   McKeeman to the Naval Hospital under the care of internal medicine, and he signed-off on the
                  26   intake evaluation by the internal medicine residents, Drs. Nicole Deren and Ethan Harris. Ms.
                  27   McKeeman reported increasing pain, swelling, leg weakness, numbness and tingling with difficulty
                  28   walking. Their physical exam found Ms. McKeeman’s left thigh was warm and tender to the touch
T HE B URCHETT                                                          3.
L AW F IRM , PC
   SAN DIEGO                                                       COMPLAINT
                  Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.4 Page 4 of 17



                   1   with discoloration (“slight reticular erythema”).
                   2          13.     Dr. Saeed ordered a CT scan of her left leg which showed that the main muscle of
                   3   her left thigh, the rectus femoris, was swollen with fluid (“edematous”) in its entirety with
                   4   additional edema within the surrounding fascia and in her lower leg. The standard of care required
                   5   that Dr. Saeed order an MRI rather than a CT scan as an MRI would have provided more relevant
                   6   information concerning Ms. McKeeman’s condition.
                   7          14.     Blood tests revealed her creatinine kinase levels (“CK” levels) were substantially
                   8   above normal for a woman of her size and age. Creatinine kinase is a by-product of muscle tissue
                   9   breakdown. Low levels (20-80 units per liter for women) in the blood are normal, but CK levels
                  10   of 1,000 units or higher are diagnostic for rhabdomyolysis. Ms. McKeeman had been given IV
                  11   fluids in the ER, which would dilute the blood CK concentration. However, even diluted, her
                  12   lowest CK levels were more than double the 1,000-unit threshold for diagnosing rhabdomyolysis.
                  13          15.     These are classic symptoms of compartment syndrome.                 Considering Ms.
                  14   McKeeman’s presentation, history, imaging results, lab results, and diagnosis of rhabdomyolysis,
                  15   the standard of care required that her physicians measure the internal pressure in Ms. McKeeman’s
                  16   thigh with a Stryker needle or similar device in order to conclusively rule out compartment
                  17   syndrome. However, Drs. Rozenfeld, Saeed, Deren, and Harris each chose not to do so. Each
                  18   decided that Ms. McKeeman did not have compartment syndrome without taking the diagnostic
                  19   steps necessary to rule it out medically, or even doing a simple Stryker pressure measurement.
                  20          16.     Rhabdomyolysis and compartment syndrome are conditions of the muscles and
                  21   related tissue, traditionally within the scope of orthopedics. The standard of care required that the
                  22   physicians managing Ms. McKeeman’s care and treatment consult with appropriate specialists.
                  23   Even though they were dealing with an orthopedic condition, Drs. Rozenfeld, Saeed, Deren, and
                  24   Harris each negligently chose not to consult with an orthopedic specialist concerning Ms.
                  25   McKeeman’s left leg condition.
                  26          17.     Drs. Rozenfeld, Saeed, Deren, and Harris discharged Ms. McKeeman on July 15
                  27   without treating her compartment syndrome. Ms. McKeeman’s left leg was so impaired at the time
                  28   of her discharge that she could not get up out of the wheelchair to get into her car.
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   SAN DIEGO                                                       COMPLAINT
                  Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.5 Page 5 of 17



                   1          18.     On July 17, 2018, Ms. McKeeman returned to the Camp Pendleton ER. Her left leg
                   2   symptoms had become worse. She could not extend her left leg at the knee, she had increased
                   3   tightening in her left leg, and, even with a cane, she could only walk a few feet. The junior resident
                   4   who evaluated her found “2/5” strength in her left leg, meaning she did not have the strength to
                   5   overcome gravity to extend her leg. Though still not up to the standard of care, the exam was a bit
                   6   of an improvement in that Drs. Rozenfeld, Saeed, Deren, and Harris had neglected to perform even
                   7   this simple strength test on the 15th. On the July 17th, her CK level still was elevated above the
                   8   rhabdomyolysis threshold, though predictably somewhat lower than on the 15th due to dilution
                   9   from increased fluid intake.
                  10          19.     The ER attending on July 17, Dr. Garrick Stride, ordered an MRI, which is what the
                  11   standard of care required. However, a physician whose name is presently unknown to plaintiff, but
                  12   who is believed to have been the MOD at the time, negligently countermanded Dr. Stride’s order.
                  13          20.     Again, the standard of care required that the ER doctors check whether the fluid
                  14   produced from rhabdomyolysis was exerting excessive internal pressure in Ms. McKeeman left
                  15   thigh. However, the records show that Dr. Stride and junior resident Dr. Rosemary Dizon
                  16   negligently chose not to evaluate Ms. McKeeman’s internal thigh pressures for compartment
                  17   syndrome, nor did they consult with an orthopedic specialist, before discharging Ms. McKeeman.
                  18          21.     On July 20, Ms. McKeeman saw her civilian primary care physician with Scripps
                  19   Clinic Medical Group, who immediately referred her for a thorough evaluation. She was promptly
                  20   diagnosed with compartment syndrome. However, by this time, it was too late for surgical relief
                  21   of the internal fluid pressure to reverse the nerve and ischemic damage already done.
                  22          22.     At all relevant times, defendant, through its employees including but not limited to
                  23   Grigory Rozenfeld, M.D., Omar Saeed, M.D., Nicole Deren, M.D. and Ethan Harris, M.D., Garrick
                  24   Stride, M.D., and Rosemary Dizon, M.D., treated Ms. McKeeman for her left leg symptoms, and
                  25   accordingly defendant and its employees each owed Ms. McKeeman a duty to use such skill,
                  26   prudence, and diligence in the treatment they provided her as other internal medicine and
                  27   emergency physicians commonly possess and exercise under similar circumstances.
                  28          23      Defendant breached these duties, as described above, in that its employees failed to
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L AW F IRM , PC
   SAN DIEGO                                                       COMPLAINT
                  Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.6 Page 6 of 17



                   1   conform to the applicable standards of care in testing, obtaining consultations, diagnosing, and
                   2   treating Ms. McKeeman’s compartment syndrome on July 14-15 and July 17.
                   3          24.     The Camp Pendleton physicians’ negligent decisions not to timely and competently
                   4   test, consult, diagnose, and treat the progressing compartment syndrome on July 14-15 and July 17
                   5   resulted in Ms. McKeeman suffering permanent nerve damage in her left leg. She suffers severe
                   6   left leg weakness which makes it impossible for her to walk without the support of a full-leg rigid
                   7   brace (for short distances). She is forced to use a wheelchair for longer distances. She has suffered
                   8   impaired sensation, uncomfortable tingling, and constant nerve pain.
                   9          25.     As a direct and proximate result of the above-described negligence on the parts of
                  10   physicians employed by defendant, Sharon McKeeman has suffered injuries that interfere with all
                  11   aspects of her life as a Marine wife, mother of young children, and professional photographer,
                  12   writer, and teacher. To date, she has incurred medical expenses in excess of $40,200 to treat her
                  13   injuries and will incur medical expenses in excess of $548,000 in the future for “smart” braces or
                  14   prosthetics. She has lost income from employment in the amount of $65,250 because of her
                  15   disability and will lose income of $72,250 in the future. She has in the past and will continue in
                  16   the future to suffer pain, physical impairment, inconvenience, and emotional distress, the value of
                  17   which far exceeds the MICRA general damages cap of $250,000.
                  18          WHEREFORE, plaintiff Sharon McKeeman prays for judgment against defendant, the
                  19   United States of America, in the sum of $1,037,988, for the costs of this action, and for all other
                  20   just and proper relief in the premises.
                  21

                  22   Dated: April 27, 2021                           THE BURCHETT LAW FIRM, PC

                  23
                                                                       By:
                  24                                                         Brian L. Burchett
                                                                             Attorneys for Plaintiff
                  25

                  26

                  27

                  28

T HE B URCHETT                                                          6.
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   SAN DIEGO                                                       COMPLAINT
Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.7 Page 7 of 17




                             Exhibit 1
                         SF-95 Claim Form
                    Case 3:21-cv-00815-JLS-AHG
                  CLAIM  FOR DAMAGE,             Document 1 Please
                                               INSTRUCTIONS:          Filedread 04/27/21
                                                                                   carefully thePageID.8         Page FORM
                                                                                                instructions on the    8 of APPROVED
                                                                                                                            17
                                               reverse side and supply information requested on both sides of this    0MB NO. 1105-0008
                   INJURY, OR DEATH            form. Use additional sheet(s) if necessary. See reverse side for
                                                                            additional instructions.

     1. Submit to Appropriate Federal Agency:                                                             2. Name, address of claimant, and claimant's personal representative if any.
                                                                                                             (See instructions on reverse). Number, Street, City, State and Zip code.

     Office of the Judge Advocate General                                                                 Sharon McKeeman, by attorney, Brian L. Burchett
     Tort Claims Unit Norfolk                                                                                                          The Burchett Law Firm, PC
     9620 Maryland Avenue, Suite 205                                                                                                    605 C Street, Suite 300
     Norfolk, VA 23511-2949                                                                                                             San Diego, CA 92010
     3. TYPE OF EMPLOYMENT                    4. DATE OF BIRTH             5. MARITAL STATUS              6. DATE AND DAY OF ACCIDENT                          7. TIME (A.M. OR P.M.)

          □   MILITARY     lg] CIVILIAN       10/18/1978                   Married                        07/15/2018                      Sunday               3:47 pm
     8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property involved, the place of occurrence and
        the cause thereof. Use additional pages if necessary).


     Near midnight on July 14, 2018, claimant Sharon McKeeman (wife of an active duty Marine) presented to the emergency
     department at Naval Hospital Camp Pendleton with a 3-day history of left leg pain, swelling, discoloration/bruising, and
     weakness, with left foot drop. She had injured both thighs jumping up quickly to prevent her daughter from falling from her crib.
     Ms. McKeeman collapsed and could not get up from the floor for an hour, and then only with assistance. Her left thigh was hard
     to the touch and purple the following day. CONTINUED ON ATTACHED SHEET.

     9.                                                                                PROPERTY DAMAGE

     NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).


     Not applicable
     BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
     (See instructions on reverse side).



     Not applicable
     10.                                                                     PERSONAL INJURY/WRONGFUL DEATH

     STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
     OF THE INJURED PERSON OR DECEDENT.

     Left leg muscle and nerve damage resulting in severe pain, weakness, loss of sensation, and loss of motor control.




     11.                                                                                    WITNESSES

                                    NAME                                                                  ADDRESS (Number, Street, City, State, and Zip Code)

                      Maj. Jesse McKeeman                                                                 3460 Spanish Way, Carlsbad, CA 92008
                          Karla Pemberton                                                            1499 E. Dutcherman Dr., Bloomington, IN 47401
                             Paxton Miller                                                                  PSC 567, Box 7007, FPO AP 96384
     12. (See instructions on reverse).                                           AMOUNT OF CLAIM (in dollars)

     12a. PROPERTY DAMAGE                     12b. PERSONAL INJURY                                 12c. WRONGFUL DEATH                     12d. TOTAL (Failure to specify may cause
                                                                                                                                                forfeiture of your rights).


     0.00                                     1,037,988                                            0.00                                    1,037,988
     I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAI.D AMOUNT IN
     FULL SATISF~N~ FINAL SETT~T OF THIS CLAIM. _

                                                                                                          13b. PHONE NUMBER OF PERSON SIGNING FORM 14. DATE OF SIGNATURE
     ~z~~ionson;;:si2
                                                                               ~.,.,. ..... JI'           619-230-8431                                              07/08/2020
                              r


'-                                 CIVIL PENALTY FOR PRESErfrl~G                                                       CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
                                          FRAUDULENT CLAIM                                                                  CLAIM OR MAKING FALSE STATEMENTS

     The claimant is liable to the United States Government for a civil penalty of not less than          Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
     $5,000 and not more than $10,000, plus 3 times the amount of damages sustained
     by the Govemmenl (See 31 U.S.C. 3729).

     Authorized for Local Reproduction                                               NSN 7540-00-634-4046                                           STANDARD FORM 95 (REV. 2/2007)
     Previous Edition is not Usable                                                                                                                 PRESCRIBED BY DEPT. OF JUSTICE
                                                                                                                                                    28 CFR 14.2
     95-109
                  Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.9 Page 9 of 17
                                                                                  INSURANCE COVERAGE

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

15. Do you carry accident Insurance?      D    Yes     If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number.         D     No

Not applicable



16. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?   0    Yes     O No        17. If deductible, state amount.



Not applicable                                                                                                                                    000
18. If a claim has been filed with your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary that you ascertain these facts).
Not applicable




19. Do you carry public liability and property damage insurance?     D    Yes     If yes, give name and address of insurance carrier (Number, Street, City, State, and Zip Code).    D No
Not applicable



                                                                                        INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate
claim form.

                                                          Complete all items - Insert the word NONE where applicable.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL                                    DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL                             INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN                                    THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY                                    TWO YEARS AFTER THE CLAIM ACCRUES.

Failure to completely execute this form orto supply the requested material within                 The amount claimed should be substantiated by competent evidence as follows:
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is                 (a) In support of the claim for personal injury or death, the claimant should submit a
mailed.                                                                                           written report by the attending physician, showing the nature and extent of the injury, the
                                                                                                  nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
                                                                                                  and the period of hospitalization, or incapacitation, attaching itemized bills for medical,
If instruction is needed in completing this form, the agency listed in item #1 on the reverse     hospital, or burial·expenses actually incurred.
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is                (b) In support of claims for damage to property, which has been or can be economically
involved, please state each agency.                                                               repaired, the claimant should submit at least two itemized signed statements or estimates
                                                                                                  by reliable, disinterested concerns, or, if payment has been made, the itemized signed
                                                                                                  receipts evidencing payment.
The claim may be filled by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitted with the claim establishing express
authority to act for the claimant. A claim presented by an agent or legal representative          (c) In support of claims for damage to property which is not economically repairable, or if
must be presented in the name of the claimant. If the claim is signed by the agent or             the property is lost or destroyed, the claimant should submit statements as to the original
legal representative, it must show the title or legal capacity of the person signing and be       cost of the property, the date of purchase, and the value of the property, both before and
accompanied by evidence of his/her authority to present a claim on behalf of the clai_mant        after the accident. Such statements should be by disinterested competent persons,
as agent, executor, administrator, parent, guardian or other representative.                      preferably reputable dealers or officials familiar with the type of property damaged, or by
                                                                                                  two or more competitive bidders, and should be certified as being just and correct.

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown in item number 12 of this form.                                                (d) Failure to specify a sum certain will render your claim invalid and may result in
                                                                                                  forfeiture of your rights.

                                                                                    PRIVACY ACT NOTICE
This Notice is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and              B. Principal Purpose: The information requested is to be used in evaluating claims.
concerns the information requested in the letter to which this Notice is attached.                C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
    A. Authority: The requested information is solicited pursuant to one or more of the              submitting this form for this information.
        following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 28 U.S.C. 2671 et seq., 28 C.F.R.         D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
        Part 14.                                                                                     requested information or to execute the form may render your claim "invalid."

                                                                          PAPERWORK REDUCTION ACT NOTICE

This notic~ is sol_ely for t~e purpose_ of ~he _Pape""'.ork Reducti?n Act: ~4 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
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1nformat1on. S_end comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director Torts
Branch, Attention: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mail co,'.,,pleted
forrn(s) to these addresses.

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Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.10 Page 10 of 17




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     1,      Sharon M'oKeeman
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Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.11 Page 11 of 17




 BLOCK 8, Continued

 She could not activate her quad muscles and was having increasing difficulty with walking, felt
 severe pain and pins and needles tingling in her left leg, and had left foot drop. She saw her
 private primary care physician on July 12 and a sports medicine PA on Friday, July 13. They
 suspected rhabdomyolysis but did not suspect compartment syndrome at that time. They told
 her to increase her fluid intake to reduce the rhabdomyolysis symptoms and to go to the ER 1f
 her symptoms worsened.

 Rhabdomyolysis is a condition where muscles break down and release fluid and muscle tissue
 fragments. Some of the fluid is absorbed into the blood stream and can harm kidneys as they
 try to filter it out of the blood. A dangerous risk of rhabdomyolysis is "compartment
 syndrome," a condition where the fluid and by-products released as the muscle tissue
 deteriorates accumulate within the confined space of the muscle fascia, building up pressure
 that cuts off blood flow causing ischemic injury, and compresses nerves causing nerve damage.
 Compartment syndrome can cause severe nerve and muscle damage if not relieved promptly.

 On Saturday July 14, Ms. McKeeman's symptoms did worsen, which brought her to the Camp
 Pendleton ER that night. Objective findings in triage were left leg numbness, rapid swelling,
 bruising, inability to walk with left leg trembling. (NHCP Records, p. ER24.) Ms. McKeeman
 was seen in the ER by staff physician Grigory Rozenfeld, MD, who found Ms. McKeeman could
 not move her left foot, had decreased sensation, and twitching. (NHCP Records, p. ER26.) He
 diagnosed leg weakness and rhabdomyolysis, but was uncertain what to do, so he called the
 Medical Officer of the Day (Naval Hospital Camp Pendleton Records, pp ER24-26.).

 The MOD, internist Omar Saeed, M.D. admitted Ms. McKeeman to the Naval Hospital under
 the care of the internal medicine service, and he signed-off on the intake evaluation by the
 internal medicine residents, Drs. Nicole Deren and Ethan Harris. Ms. McKeeman reported
 increasing pain, swelling, leg weakness, numbness and tingling with difficulty walking. (NHCP
 Records. P. ER14.) Their physical exam found Ms. McKeeman's left thigh was warm and tender
 to the touch ("TIP," tender to palpation) and somewhat red ("slight reticular erythema").
 (NHCP Records, p. ER20.) A CT scan showed that the main muscle of her left thigh, the rectus
 femoris, was edematous (swollen with fluid) in its entirety with additional edema within the
 surrounding fascia and in her lower leg. (NHCP Records, p. ER12.) These are symptoms of
 compartment syndrome.

 Blood tests revealed her creatinine kinase levels ("CK" levels) were substantially above normal
 for a woman of her size and age. (NHCP Records. p. ERS.) Creatinine kinase is a by-product of
 muscle tissue breakdown. Low levels in the blood are normal, but CK levels of 1,000 units or
 higher are diagnostic for rhabdomyolysis. Ms. McKeeman had been given IV fluids in the ER,
 which would dilute the blood CK concentration. (NHCP Records p. ER19.) However, even
 diluted, her lowest CK levels were more than double the 1,000 unit threshold for diagnosing
 rhabdomyolysis.



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Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.12 Page 12 of 17




 With Ms. McKeeman's presentation, imaging results, lab results, history, and diagnosis of
 rhabdomyolysis, the standard of care required that her physicians measure the internal
 pressure in Ms. McKeeman's thigh with a Stryker needle or similar device in order to rule out
 compartment syndrome. However, Drs. Rozenfeld, Saeed, Deren, and Harris each chose not
 to do so, each decided that Ms. McKeeman did not have compartment syndrome without
 doing the tests to medically rulG it out or gvgn doing the simple Stryker pressure
 measurement, and Dr. Saeed discharged her on July 15. Though Dr. Saeed claimed she was
 "ambulating appropriately" at discharge (NHCP Records, p. ER 10.), Ms. McKeeman will testify
 that she could ambulate, poorly, only with support, and other witnesses will testify that Ms.
 McKee man could not even get up out of the wheelchair to get into her car at discharge, let
 alone "ambulate appropriately."

 On July 17, 2018, she went back to the Camp Pendleton ER. Her physical symptoms were
 worse. She could not extend her left leg at the knee, had increased tightening in her left leg,
 and, even with a cane, could only ambulate slightly. (NHCP Records, p. ER 6.) The junior
 resident who evaluated her found "2/5" strength in her left leg, meaning she did not have the
 strength to overcome gravity to extend her leg. (NHCP Records, p. ER 7.) It should be noted
 that Drs. Rozenfeld, Saeed, Deren, and Harris neglected even to perform a simple strength test
 on the 15th . On the 1ih, her CK level was still elevated above the rhabdomyolysis diagnostic
 threshold, though somewhat lower than on the 15th, predictably, due to dilution from
 increased.fluid intake. (NHCP Records, p. ER 7.)

 As before, the standard of care mandated that the ER doctors check whether the fluid from
 rhabdomyolysis was exerting excessive internal pressure in her left thigh. Nevertheless, the
 records show that the ER attending, Dr. Garrick Stride, and junior resident, Dr. Rosemary
 Dizon, negligently chose not to evaluate her internal thigh pressures for compartment
 syndrome before discharging her.

 On July 20, she was seen by her civilian primary care physician with Scripps Clinic Medical
 Group, who immediately referred her for a thorough evaluation. She was promptly diagnosed
 with compartment syndrome. However, by this time, it was too late for surgical relief of the
 internal fluid pressure in her thigh muscles to undo the damage already done.

 The Camp Pendleton physicians' negligent decisions not to promptly assess and treat the
 progressing compartment syndrome on July 14-15 and July 17 resulted in Ms. McKeeman
 suffering permanent nerve damage in her left leg. She suffers severe left leg weakness which
 makes it impossible for her to walk without the support of a full leg rigid brace (for short
 distances). Otherwise she is confined to a wheelchair. She has suffered impaired sensation,
 uncomfortable tingling, and constant nerve pain. These symptoms are so severe that she is
 contemplating amputation of her left leg at the mid-thigh level. (Scripps Rehab Notes, pp. 18-
 21.)
Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.13 Page 13 of 17




 Her malpractice-related injuries have interfered with all aspects of her life as a Marine wife,
 mother of young children, and professional photographer, writer, and teacher. She has
 incurred medical expenses to treat her injuries and will incur substantial medical expenses in
 the future for "smart" braces or prosthetics. She has lost income from employment because of
 her disability and will continue to lose income in the future.
 Her pain and suffering damages far exceed the California cap on such damages of :i;2.50,ooo.
 Her economic damages are as follows:

 PAST MEDICAL EXPENSES
 Medical expenses paid by Tri Care (Downloaded EOBs attached)                         $30,500
 Co-Payments                                                                          $ 2,500
 Adaptive equipment purch'd by Claimant                                               $ 2,700
 Handcrank cycle                                                                      $ 4,500
 TOTAL PAST MEDICAL EXPENSES                                                          S40,200

 FUTURE MEDICAL EXPENSES
 Ottobock leg brace                                                                   $105,000
 Functional electrical stimulation brace                                              $ 35,000
 Neuro-electrical stimulator                                                          $ 12,000
 Wheelchair service and replacement                                                   $ 1,353
 Brace replacement (3 times over 41-year life expectancy)                             $315,000
 Physical therapy (6 times per year @$125 until age 65)                               $ 18,000
 Miscellaneous injury-related care (3 OVs per year @$95 over 41-year life             $11,685
 expectancy)
 Hospitalizations (2 hospitalization @ $25,000 over life expectancy)                  $50,000
 TOTAL FUTURE MEDCIAL EXPENSES                                                       5548,038


 LOST INCOME

 YEAR                                                     ACTUAL INCOME              NET LOSS
 PAST LOSSES
 Pre-injury average baseline income                                 $24,000
 2018                                                              -$ 4,500            $28,500
 2019                                                                -$500             $24,500
 2020                                                                -$250             $12,250
 TOTAL PAST LOSS                                                                       $65,250

 FUTURE ESTIMATED LOSSES
 2020                                                                 -$250            $12,250
 2021                                                                 $4,000           $20,000
 2022                                                                 $8,000           $16,000
 2023                                                                $12,000           $12,000


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Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.14 Page 14 of 17




 2024                                                 $16,000        $8,000
 2025                                                 $20,000        $4,000
 2024                                                 $24,000        $   00
 TOTAL FUTURE ESTIMATED LOSSES                                      $72,250
Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.15 Page 15 of 17




                  Medical record copies omitted.
Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.16 Page 16 of 17




                          Exhibit 2
                        Claim Denial
   Case 3:21-cv-00815-JLS-AHG Document 1 Filed 04/27/21 PageID.17 Page 17 of 17



                                          DEPARTMENT OF THE NAVY
                                        OFFICE OF THE JUDGE ADVOCATE GENERAL
                                              TORT CLAIMS UNIT NORFOLK
                                           9620 MARYLAND AVENUE SUITE 205                         IN REPLY REFER TO
                                                NORFOLK VA 23511-2949




                                                                                      5890
                                                                               Ser 1201510
                                                                               October 29, 2020

 CERTIFIED MAIL
 RETURN RECEIPT REQUESTED

  BRIAN L BURCHETT ESQ
  THE BURCHETT LAW FIRM PC
  605 C STRET SUITE 300
__B_AN12lEGO CA 92010



 Dear Mr. Burchchett:

 SUBJECT:      CLAIMS OF SHARON MCKEEMAN AND JESSE MCKEEMAN, OUR MASTEE
               FILE NO. 1201510

       This responds to your clients' administrative claims in the amount of$1,287,988.00 for damages
 allegedly resulting from medical care provided to Sharon McKeeman at Naval Hospital Camp Pendleton
 on July 15, 2018. Your clients' claims were analyzed under the Federal Tort Claims Act (FTCA), 28
 U.S.C. §§ 1346(b), 2401(b), and 2671-2680. Our investigation has determined the United States is not
 liable under the FTCA for the damages claimed.

       The United States is liable under the FTCA when the negligence or wrongful act of a Federal
 employee proximately causes injury. A review of your client's medical records show that the applicable
 standard of care was met by each of her Navy health care providers. The damages alleged did not result
 from any negligent act or omission on the part of an employee of the United States. Accordingly, your
 clients' claims are denied. If you do not agree with this decision, be advised you have six months from
 the date of mailing of this letter to file suit in the appropriate Federal district court.

        If you have any questions, please contact me by phone at (757) 341-4538 or email at
 kristina.schlieter@navy.mil

                                                 Sincerely,


                                                 ~/2~
                                                 KRISTINA L. SCHLIETER
                                                 Tort Claims Attorney
